      Case 1:24-cv-00715-JLT-BAM Document 3 Filed 06/21/24 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   JAMES GREATHOUSE,                              Case No. 1:24-cv-00715-JLT-BAM
12                      Plaintiff,                  ORDER STRIKING UNSIGNED COMPLAINT
                                                    (Doc. 1)
13          v.
14   CITY OF FRESNO, et al.,                        ORDER REQUIRING PLAINTIFF TO FILE A
                                                    SIGNED COMPLAINT WITHIN THIRTY DAYS
15                      Defendants.
                                                    THIRTY (30) DAY DEADLINE
16

17

18

19          Plaintiff James Greathouse is proceeding pro se in this civil action. Plaintiff Greathouse
20   filed the complaint in this action on June 20, 2024, (Doc. 1), together with an application to
21   proceed in forma paupers pursuant to 28 U.S.C. § 1915, (Doc. 2).
22          Upon review, the Court notes that the complaint is not signed by Plaintiff Greathouse.
23   Both the Federal Rules of Civil Procedure and this Court’s Local Rules require that all filed
24   pleadings, motions, and papers be signed by the party personally if the party is unrepresented.
25   Fed. R. Civ. P. 11(a); Local Rule 131(b). Since Plaintiff Greathouse’s complaint is unsigned, the
26   Court must strike it from the record. Plaintiff Greathouse will be permitted thirty (30) days to file
27   a signed complaint that complies with the Federal Rules of Civil Procedure and the Local Rules.
28
                                                      1
      Case 1:24-cv-00715-JLT-BAM Document 3 Filed 06/21/24 Page 2 of 2


 1            Based on the foregoing, it is HEREBY ORDERED that:
 2            1.     Plaintiff’s complaint filed on June 20, 2024 is STRICKEN from the record for lack
 3   of signature.
 4            2.     The Clerk of the Court is directed to serve this order on Plaintiff Greathouse.
 5            3.     Within thirty (30) days from the date of service of this order, Plaintiff SHALL file
 6   a signed complaint (or a notice of voluntary dismissal).
 7            4.     No extension of time will be granted without a showing of good cause.
 8            5.     Plaintiff is warned that the failure to comply with this order will result in
 9   dismissal of this action, with prejudice, for failure to prosecute and failure to obey a court
10   order.
11
     IT IS SO ORDERED.
12

13      Dated:       June 21, 2024                              /s/ Barbara A. McAuliffe               _
                                                           UNITED STATES MAGISTRATE JUDGE
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       2
